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                           UNITED STATES DISTRICT COURT                          2O;:-9 AHO:35
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION                                                       )URT
                                                                                                       TrXAS

COMMISSION FOR LAWYER DISCIPLINE, §
         Plaintiff,               §
                                                      §
v.                                                    §          CASE # 1:20-CV-0153-RP
                                                      §
BRAND! K STOKES,                                      §
               Defendant.                             §

     APPLICATION FOR TEMPORARY RESTRAINING ORDER AND INJUNCTION

       NOW COMES Defendant, Brandi K Stokes, and brings this Application for Temporary

Restraining Order and Permanent Injunction, and shows the Court the following:

        On March 5, 2020, the above-styled case was transferred to Chief U.S. District Judge

Orlando Garcia. Almost immediately, the court coordinator for state District Judge Kyle

Hawthorne, Kristie B. Evans, sent a scheduling notice and request to the parties indicating that

Judge Hawthorne intended to schedule a hearing in the case and wanted the Defendant to be

noticed for a deposition on the day of the hearing. As of the filing of this application, neither

Judge Hawthorne nor his court coordinator have withdrawn the scheduling notice and request to

the parties, despite being provided with notice of the transfer. The action of the state trial court

violates the federal stay provision currently imposed by 28 U.S.C.      §   i446d). The Defendant

therefore respectfully requests that a temporary restraining order issue and that Judge Kyle

Hawthorne be enjoined from participating in any matter involving the Defendant other than as a

witness and from causing another person to communicate with the Defendant regarding any

matter involving the Defendant other than in his capacity as a witness.

        Defendant prays that the requested relief be granted.

DATED: March 9, 2020

                                                1
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                                               Brandi K Stokes, Defendant
                                               Texas State Bar No. 24044940
                                               brandi.stokesgmail.com        I
                                                                                 +1 512 206 0202




                                         VERIFICATION
       "Pursuant to 28 U.S. Code   §   1746, 1 verify under penalty   of perjury under the laws of the

United States of America that the foregoing is true and correct."



                                               Brandi K Stokes


                                CERTIFICATE OF SERVICE

       I certify   that on March 9, 2020, a true and correct copy of the above was served on

counsel for the Plaintiff through CMRRR at the address listed for Plaintiff. I further certify

that on March 9, 2020, a Notice of Law Suit and Request to Waive Service of a Summons

was delivered to Judge Kyle Hawthorne both through email and by CMRRR.



                                                                        A
                                               Brandi K Stokes




                                                 2
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3/8/2020                                                       Gmail - D-1-GN-18-000502 Scheduling




              *IiiMI                                                                         Brandi Stokes <brandi.stokesgmaii corn>



  D-1 -GN-1 8-000502 Scheduling

  Brandi K Stokes <brandi.stokesgmaiI.com>                                                Fri, Mar 6, 2020 at 9:48 AM
  To: Judith DeBerry <Judith. DeBerrytexasbar.com>
  Cc: "Kristie B. Evans <KEvansbrazoscountytx.gov>, Tanya Galinger <Tanya.Galinger@texasbar.com>, Lorraine Elzia
  <Lorraine. Elziactraviscountytx.gov>, Warren Vavra <Warren.vavra@traviscountytx.gov>

    Ms. Evans,

    Please let the judge know that the federal case has been transferred to Judge Orlando Garcia. I will be filing for a restraining order in
    that case. I am also looking into the remedies for Judges Stubblefield and Blomerth's decision to proceed on this case notwithstanding
    the federal stay provision.

    If I can show up, I will, but I will not participate in any further proceedings in state court. This has gone too far, and in the interim, my
    health has been destroyed. Until I have appropriate health care, I am not able to participate in any high stress situations.

    Brandi Stokes

    Brandi Stokes

    On Fri, Mar 6, 2020 at 9:27 AM Judith DeBerry          <JudithDe8errytexasbarcom> wrote:

       Ms. Evans,

       I'm avaUable on all of those dates. Please let me know the judge's preferred date and time for the scheduling hearing
       and I'll set the deposition for immediately after the hearing and send notices.

       Respectfully,




       From: Kristie 8. Evans <KEvansbrazoscauntytxgov>
       Sent: Thursday, March 5, 2020 12:10 PM
       To: Judith DeBerry <JudithDeBerry@TEXASBAR.COM>; brandLstokesgmail.corn
       Cc: Tanya Galinger <Tanya.GalingerTEXASBARCOM>; Lorraine Elzia <Lorraine,Elziatraviscountytx.gov>; Warren
       Vavra <WarrenVavratraviscauntytx.gov>
       Subject: D-1-GN-18-000502 Scheduling



           * State Bar of Texas External Message * - Use Caution Before Responding or Opening
       Links/Attachments

       Judge Hawthorne would like to set a scheduling hearing in the above referenced case. He also
       wants the deposition of Ms. Stokes to be noticed for the same date and location as the
       scheduling hearing, since he will be in Travis County already and can be available in case of any
       objections or problems that may arise during the deposition. Dates that Judge Hawthorne and a
       multipurpose courtroom is available are: April 3, May 1, and May 29, 2020. Please let me know
       if you have a conflict with any of these dates by noon on March 9' 2020.



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3/8/2020                                                     Gmail   D-1-GN-18-000502 Scheduling

      Thank you!


       Kristie Evans

       Court Coordinator
       85th District Court

       300 East 26th Street, Suite 408

       Bryan, Texas 77803

       (979) 361-4271

       Fax: (979) 361-4276

       kevans©brazoscountytxgov




    Thank you,

    Brandi Stokes
    P.O. Box 301916
    Austin, Texas 78703
    Tel: 512/206-0202
    brandikstokes.org


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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

COMMISSION FOR LAWYER DISCIPLINE, §
         Plaintiff,               §
                                                       §
v.                                                     §           CASE # 1:20-C V-0153-RP
                                                       §
BRANDI K STOKES,                                       §
               Defendant.                              §

     ORDER GRANTING APPLICATION FOR TEMPORARY RESTRAINING ORDER
                           AND INJUNCTION

        The Court finds that good cause exists to grant the Defendant's Application for

Temporary Restraining Order and Injunction.

        Following the filing of a notice of removal, the state court "shall proceed no further unless

and until the case is remanded." 28 U.S.C.   §   1446(d). The Court finds that the clear language of

the general removal statute provides that the state court loses jurisdiction upon the filing of the

petition for removal. The Court further finds state District Judge Kyle Hawthorne, by and

through his court coordinator, has expressed an intent to disregard 28 U.S.C.        §   1446(d) and

that such disregard is improper. The Court therefore GRANTS the Defendant's application for a

temporary restraining order and ENJOINS Judge Kyle Hawthorne from participating in any

matter involving the Defendant other than as a witness and from causing another person

to communicate with the Defendant regarding any matter involving the Defendant other

than in his capacity as a witness.

DATED:



                                                 Judge Presiding
